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MEMORANDUM

DATE:            March 2, 2021
TO:              Michele Sumilas, Acting Chief of Staff
FROM:            Justin H. Brown, Counselor /s/
SUBJECT:         Lessons From USAID’s FY 2019 Budget Process Highlight Interagency
                 Constraints and Areas that Require Continued Attention
The process of executing the foreign assistance budget is central to USAID’s ability to deliver
on its mandate and involves many levels of review and steps, some of which occur outside of
the Agency. The fiscal year (FY) 2019 foreign assistance budget execution process was
particularly challenging, effectively representing a stress test of the system that provides useful
lessons for the future. The U.S. Government shutdown in FY 2019 impacted staff availability,
and in the final 2 months of FY 2019, the White House Office of Management and Budget
(OMB) ordered a temporary freeze on USAID foreign assistance funds while publicly discussing
the possibility of a rescission and eventually ordering a reapportionment of funds. As a result,
USAID budget execution processes were significantly disrupted, and budget staff reported
working considerable amounts of time to respond to related constraints. We noted this in our
2020 Top Management Challenges memo as a leading expression of the challenge USAID faces
in reconciling interagency priorities and functions. 1
After noting this issue in our Top Management Challenges memo and learning of stakeholder
interest in the subject, we sought to better understand how USAID managed the process for
executing foreign assistance funds and adapted to external factors. We examined USAID’s
budget execution processes during FY 2019, paying specific attention to Agency adaptations to
the reapportionment—which impacted FY 2018 funds that were set to expire—and the FY
2019 653(a) process. 2 This memo provides information on the impact of external parties on
USAID’s budget process, remaining challenges, and resulting risks to the Agency if proper
attention is not given to ensuring that improvements are sustained, particularly during a period



1
 USAID OIG, “Top Management Challenges Facing USAID in Fiscal Year 2020,” November 20, 2019.
2
 Section 653(a) reports are due to Congress 30 days after an appropriations bill has been enacted and require the
President notify Congress of the countries and organizations that will receive foreign assistance funds.

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of transition, when priorities and interests may change. The conclusions are based on review of
relevant documentation and interviews with USAID and State Department budget staff.

Many Parts of the Budget Execution Process Are Outside of USAID’s
Control
USAID has 2 years from the beginning of the fiscal year to obligate the bulk of its
congressionally appropriated funding before it expires, but in practice, parts of the process that
occur outside of USAID or in coordination with other parts of the U.S. Government
substantially limit the time that the Agency has to obligate the funds. Figure 1 shows USAID’s
budget execution process and the flow of funds.
Figure 1. Flow of Federal Funds to USAID, From Appropriation to Obligation


                            Appropriation
                            Each year, Congress must pass appropriations bills to fund the Federal Government for the
                            next fiscal year. Appropriations are rarely enacted on time.




                            Apportionment
                            Once Congress passes the budget funds, OMB apportions the amount of funds that the
                            State Department (State) and USAID may use for a given time period, project, or activity.




                            653(a) Report to OMB and Congress
                            Due 30 days after Congress appropriates funds, this report outlines funding allocations by
                            foreign country and category of assistance. State, in coordination with USAID, makes
                            decisions on how to allocate the funds.




                            Allotment
                            State and USAID allot funds to bureaus, then pre-obligation requirements are completed and
                            USAID can allow funds to missions.




                            Availability
                            Funds are made available to USAID program offices, awards are selected, and funds are
                            then obligated into activities.


Note: According to the USAID Office of Budget and Resource Management (BRM), pre-obligation requirements
may include: operational plans, country check list requirements, Section 7076(b) spend plans, congressional
notifications, consultations with Congress, environmental compliance, terrorism risk-based assessments,
Government-to-Government certification, and certification of nontaxation assistance. Mission requirements can
include activity-level checklists and amendments to agreements with the host government.
Source: ForeignAssistance.gov, Foreign Assistance Act of 1961, and BRM.




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Although the period of availability of funds for obligation begins at the start of the fiscal year,
the appropriation of these funds often lags. In FY 2018, appropriations came 174 days after the
fiscal year began. In FY 2019, this occurred 138 days after the fiscal year began.
After the President signs the appropriations act, responsibility for executing appropriated funds
shifts to the executive branch. OMB apportions funds to both USAID and State’s Office of
Foreign Assistance (State/F)—a joint office supported by personnel from State and USAID.
USAID bureaus then provide allowances to USAID missions. State has the delegated authority
to approve the programming of foreign assistance funds; however, State and USAID have
shared responsibility for administering certain foreign assistance accounts (for a listing of the
accounts for which USAID has responsibility, see the appendix).
Section 653(a) of the Foreign Assistance Act of 1961 requires the President to notify Congress
of the countries and organizations that will receive foreign assistance funding. State/F and BRM
work to determine 653(a) budget levels for foreign assistance accounts based on a number of
variables, including historic funding levels, request levels, technical group recommendations,
remaining funds available by sector and the expenditure rate for remaining funds, policy
decisions, directives, and administration priorities.
Section 653(a) reports are due to Congress 30 days after an appropriations bill has been
enacted. In recent years, 653(a) reports have been issued at a substantially later date. A recent
study by the U.S. Government Accountability Office (GAO) noted that 653(a) reports were
provided to Congress between 110 and 260 days after the enactment of appropriations from
FY 2015 to 2018. 3 In addition, program funds are approved by State through operational plans,
which describe how the funds align with country strategies, administration priorities, and
congressional directives. According to BRM, USAID must then submit Congressional
Notifications for funds not notified through the Congressional Budget Justification or requiring
special notification, representing the bulk of its development assistance funding. Congressional
Notifications expire 15 days after transmission, barring any holds placed by committees, which
can further delay the availability of funds for obligation. Once clear of congressional
requirements, OMB apportions funds, specifying the amount of funds that USAID may use
according to a time period, program, project, or activity. USAID then takes action to implement
programs, projects, or activities to make use of the appropriated funds, ensuring all pre-
obligation requirements are met.
USAID typically implements activities through external organizations enlisted through a
contract, grant, or cooperative agreement, depending on the type of work, the purpose of the
funding, and the nature of the relationship between the Agency and the implementer. After the
type of obligating instrument (assistance or contract) is determined and documented, USAID
can obligate funds. This process can involve project design, solicitation, selection, and
documentation of assistance award decisions in a negotiation memorandum.
USAID had approximately 12 and 11 months remaining of the 2-year period to obligate in
FYs 2018 and 2019, respectively, before 2-year funds appropriated for those fiscal years
expired. Notwithstanding these time constraints, OIG found that USAID has been successful in

3
  GAO, “State Department Should Take Steps to Improve Timeliness of Required Budgetary Reporting,”
September 9, 2019.


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ensuring that very little appropriated funding expires prior to obligation. OIG found that from
FY 2010 to 2017, USAID received $28.1 billion in appropriated funds that had statutory
expiration between FYs 2016 and 2018. Of this amount, about $5.7 million expired prior to
obligation—approximately 0.02 percent over the 3-year period. 4 In FY 2019, USAID reported
that less than $400,000 expired. However, historically much of the obligation activity occurred
in the last quarter of the fiscal year, with 25-30 percent in September.
During FY 2019, USAID conducted two large-scale budget execution efforts simultaneously:
finalizing 653(a) levels for FY 2019 funds for future obligation and finalizing obligation of
FY 2018 funds before they expired. The following pages and figure 2 address these concurrent
efforts and show how USAID personnel are simultaneously working on the budget process for
four different fiscal years.
Figure 2. USAID’s Budget Activities During FY 2019

    Executing the              Executing the               Justifying the             Formulating the
    FY 2018 Budget             FY 2019 Budget              FY 2020 Budget             FY 2021 Budget
    • Obligating funds         • Participating in the      • Defending the            • Developing the FY
      expiring by September      Strategic Sector            President’s budget         2021 budget request
      30, 2019                   Reviews and technical     • Testifying at
                                 earmark work group          Congressional hearings
                               • Submitting 653(a) to        to justify budget
                                 Congress
                               • Preparing operational
                                 plans and congressional
                                 notifications
Source: OIG analysis of BRM documents.



Differences on the Direction of Foreign Assistance Programming
Complicated Budget Execution
USAID dedicates substantial time and resources to the budget formulation process. This work
is based on USAID and State technical recommendations and Administration priorities and can
aid in the execution of funds after appropriation.
The budget formulation process culminates with request levels for USAID funding that are
consistent with the Administration’s priorities. These are, however, sometimes at odds with
congressional priorities and levels. In recent years, these differences have been pronounced.
The Administration’s budget request for State, Foreign Operations accounts for FY 2019, for
example, ended up being approximately 22 percent less than the actual appropriation. Such
discrepancies require budget staff to modify plans after an appropriation passes. For example,
while the Administration did not request any funding for programming to address climate
change, Congress applied directives for climate change programming in its appropriation,



4
    USAID OIG, “USAID’s Use of Appropriated Funds Prior to Expiration and Cancellation,” July 27, 2020.


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requiring Agency staff to develop plans to fund related activities after the formulation,
justification, and appropriation processes had concluded.
In addition, Congress may apply earmarks, or conditions in the appropriation that direct the
use of the funds provided. These spending requirements vary in specificity and affect agencies’
ability to complete the 653(a) process in a timely fashion. GAO reported that such directives
have become more detailed over time in the State, Foreign Operations appropriation, and
noted that they are significant in volume, with 668 directives in FY 2017 and 657 in FY 2018.
Complexities surrounding the authority to administer funding accounts further complicate the
process of applying earmarks. For example, some earmarks apply globally and are met by
multiple accounts administered by both State and USAID; in these cases, USAID and State must
coordinate closely to ensure that earmark requirements are met. 5
To ensure that Presidential- and Secretary-level strategy and policy directly inform final
resource allocations, State/F developed a strategic sector review process with associated
guidance. This guidance outlines three steps: (1) defining leadership initiatives and priorities,
(2) holding sector-based roundtables, and (3) developing resulting technical budget
recommendations. In FY 2019, roundtable sessions held in October and November generated
priorities for countries based on trends and progress toward strategic goals. Meanwhile,
November 2018 technical recommendations informed the FY 2019 653(a) process, as well as
the budget formulation process for FY 2021. In FY 2018, the plenary and sector-specific
roundtables extended from October 23 to November 16, with multiple sessions per day.
Despite this extensive process, USAID staff reported that over time it has become less clear
how technical recommendations are considered in the budget allocation process in light of
Administration priorities and earmarks. For example, staff said that to meet all directives with
available funding, country earmarks must be overlaid with sector earmarks. Technical
recommendations provided in many cases must be set aside to meet earmark requirements.
USAID staff provided examples where country earmarks conflicted with the Agency’s technical
recommendations. Staff also noted instances where technical recommendations greatly
exceeded countries’ 653(a) allocations.
For planning, BRM reported it uses spreadsheets, PowerPoint, and the USAID budget system to
track the previous year’s 653(a) allocation, technical and regional bureau recommendations, and
the current request. 6 The 2019 strategic sector review and resulting technical
recommendations for the FY 2020 653(a) allocations for the education sector provide an
example of these differences.
BRM data show how some countries’ requests match or differ from the technical
recommendations. The previous year 653(a) levels for basic education in Jordan and Pakistan
were more than double the levels recommended, whereas the 653(a) level for education in


5
  For example, the Prevention of Failed States Through Public-Private Partnerships in section 7071(c) was a new
$10 million directive that requires State and USAID to submit a joint report to the committees on appropriations
prior to the obligation of funds.
6
  For FY 2021, BRM reported development of a new process that allows for automation of data into Tableau to
expedite and streamline the review process.


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Malawi was less than half the level recommended. Meanwhile, according to USAID staff, overall
technical recommendations for Ethiopia were three times greater than 653(a) funding levels.
These constraints and competing priorities make it difficult for USAID to advance funding levels
that reflect its assessment of what is most needed in a country. USAID’s Journey to Self-
Reliance aimed to combat some of these challenges and mitigate the need for future foreign
assistance by helping countries solve their own development challenges through results-based
interventions. USAID OIG issued an audit on USAID’s self-reliance metrics and challenges
USAID faces in implementing development activities as envisioned under this initiative. The
audit found that missions in Ethiopia, Ukraine, and Zambia reported that 99, 68, and 93 percent,
respectively, of obligations made in FY 2019 were done in line with various earmarks. 7 These
figures demonstrate how little discretion USAID has in how it obligates its funds.

USAID and State Reported Addressing Shortcomings in the FY 2019
653(a) Process
The interagency development of 653(a) reports for Congress on country- and sector-level
allocations has played out over a number of months in recent years, rather than the maximum
period of 30 days required by Congress. GAO examined the 653(a) process for State, Foreign
Operations accounts during FYs 2015-18. As shown in figure 3, the FY 2019 653(a) process
played out over a longer period than any other fiscal year since 2014, extending over 265 days.




7
 USAID OIG, “USAID Updated Guidance to Address Inconsistent Use of Journey to Self-Reliance Metrics and
Misalignment of Missions’ Budgets,” December 23, 2020.


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Figure 3. Timeline of FY 2019 653(a) Process




Source: OIG analysis of BRM documentation.


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External reviews beyond USAID’s control accounted for a significant portion of the FY 2019
653(a) process. For example, after State/F submitted the FY 2019 allocations, OMB clearance
took 73 days; USAID staff said that OMB clearance averaged around a week or two in previous
years. State/F took 53 days to provide BRM with initial allocations for review—reportedly due
to the complexity of the allocations and the requirement to demonstrate that all earmarks and
legislative requirements were met—and an additional 43 days to provide BRM with updated
allocations after receiving its initial consolidated reclama. BRM had 16 days with the 653(a)
report and 39 days when the report was with both State and USAID. In other words, the
653(a) report was not with USAID for 210 of the 265 days—or 79 percent—of the total time
the process took to complete. Figure 4 shows the timeline for the FY 2019 report.
Figure 4. Number of Days the FY 2019 Report Was With USAID, State, and Other
Stakeholders During the 653(a) Process


  16          39                                                  210

         Days with USAID/BRM             Days with State and USAID        Days with other stakeholders

Source: OIG analysis of BRM documents.


According to State/F, much of the delay in the FY 2019 653(a) process was due to a change in
coordination procedures between State/F and BRM. In prior years, State/F developed and sent
draft allocations to BRM for comment. For FY 2019, BRM and State/F each developed its own
separate proposed allocations that required significant time to reconcile. While State/F
reported that it was expecting BRM priorities and a list of changes they could make, as done in
previous years, State/F instead received a complete set of new proposed allocations for the
Economic Support Fund and Development Assistance allocations.
According to BRM, it assumed the lead, consistent with the prior year in developing the initial
draft allocations for core USAID funds such as Development Assistance and Global Health
funding, based on USAID’s technical expertise. BRM staff also noted that the extended
government shutdown in late 2018 and early 2019 limited staff availability to work on draft
allocations.
For FY 2020, BRM developed initial 653(a) figures and took the lead for some funds and
worked jointly with State/F to develop the final allocation. According to the Director of State/F,
process reforms such as this one resulted in the submission of the FY 2020 653(a) report to
Congress more than 70 days earlier than the FY 2019 report. In addition, BRM reported that it
participated in an after-action review of the FY 2019 653(a) process jointly with State/F. USAID
also reported participating in work groups across State/F and BRM to streamline the
operational plan review process. Given the tight deadlines, competing interests in foreign
assistance, and USAID’s lack of ownership in the budget process and reliance on State/F to
make decision on core USAID funding, the Agency will need to continue to work closely with
State while advocating for USAID’s equities.




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USAID’s Response to Reapportionment Highlighted the Need for
Process Improvements
From August 3 to August 9, 2019, OMB froze USAID foreign assistance funds until OMB
received an accounting of outstanding unobligated resources. According to USAID, at the time
it had more than $3 billion in unobligated balances of expiring FY 2018 funds. After the freeze
was lifted, OMB ordered a reapportionment of these funds, in which USAID could only spend
approximately 2 percent of remaining funds each day for the rest of the fiscal year. 8
The usual obligation process is decentralized, with leadership restricted to monitoring high-level
obligation figures; however, to ensure that the 2 percent threshold was not exceeded, BRM led
a central process to coordinate weekly obligations across missions and bureaus. Without
guidance to address this circumstance, USAID budget staff reviewed each individual action.
USAID reported that it was able to obligate nearly all FY 2018 funds, with the exception of a
few thousand dollars. However, the reapportionment process did significantly impact BRM and
budget staff in regional and technical bureaus. These staff reported that the reapportionment
process was very time-consuming, and in some instances may have resulted in less-than-ideal
decision making.
USAID leadership can normally monitor topline budget execution, obligation, and pipeline
financial information through its enterprise reporting dashboard, and portfolios are tracked at
the bureau and office level. According to Agency budget staff, because the Agency’s budget and
financial systems do not track individual activity obligations or plans across the Agency and
overseas missions, USAID manually balanced all Agency obligations in large spreadsheets to
review and track every planned obligation. According to BRM, this measure was taken to avoid
an Anti-Deficiency Act violation resulting from OMB’s imposed restrictions on obligations.
Another complicating factor was that the Agency lacks a tool to track planned centrally
managed obligations and associated transfers of funds from different bureaus and missions. 9
These fund transfers are tracked by the individual bureau or by email and resulted in delays for
decision making and obligations. In addition, technical bureau-based obligations and overseas
mission-based obligations were being inadvertently double-counted in the spreadsheets,
according to staff. As a result, the Chief of Staff, heads of bureaus, and the BRM Director met
daily about obligations against individual awards.
USAID staff said that the daily review of spreadsheets to validate that individual decisions had
been executed, along with the additional meetings, were extremely time-consuming steps that
affected morale. The time pressures were reportedly felt across all bureaus and missions.
Missions that traditionally obligate funds unilaterally were required to update the spreadsheet
on any obligation they had made. Meanwhile, technical bureaus needing to obligate funds were
held up because of the daily validation process.
According to staff, decisions were made based on which office or mission would have the best
chance to obligate funds, or which mechanism would be easiest to obligate against, rather than

8
  Some funds were not affected by the reapportionment, such as USAID’s International Disaster Assistance and
Complex Crises funds.
9
  A centrally managed award is a mechanism that other bureaus and missions can buy into.


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the best programmatic approach. In other instances, decisions were reportedly based on
ensuring that political priorities were met, sometimes delaying obligations in support of other
programs that were further developed and ready to be obligated against.
According to BRM, the 2 percent per day obligation limitation also resulted in the anomalous
and inefficient practice of breaking out awards into subparts. For example, this was the case
with the development agreement with the Government of Afghanistan—if it had been awarded
at one time, as is the usual practice, it would have exceeded OMB’s restrictions on Agency
obligations for a full week.
At the end of FY 2019, and after responding to the reapportionment, USAID/BRM conducted
an internal after-action review to examine processes and identify challenges affecting timely
obligations. 10 BRM developed a draft report with conclusions and recommendations for
improving USAID’s related processes and began taking some steps to address the identified
issues:

•    Transparency of apportionments. The FY 2019 process highlighted a lack of transparency in
     the apportionment process because BRM and USAID regional bureaus maintain
     responsibility for allocating funds, but State/F submitted all apportionments to OMB with
     the USAID Chief Financial Officer’s (CFO) clearance. To improve visibility for regional
     bureaus and BRM, and to increase the accuracy of budget data, BRM created and filled a
     position to assist with the review of apportionments.
•    Allotment holder roles and responsibilities. BRM reported that the after-action review revealed
     the lack of a central list of official allotment holders, or heads of each bureau, and that these
     individuals were not aware of the responsibilities of the role. As a result, BRM reported that
     a list of USAID allotment holders has been created and is maintained by the CFO.
     Additionally, USAID policy was updated to state that “only obligating officials can sub-
     obligate funds.” BRM noted that in a future reapportionment, this step will help ensure
     accountability of allotments and prioritize approval of obligations at a top level rather than
     at the individual activity level.
•    Program-funded operational costs. BRM found that many operating units were not adhering to
     the definition for program-funded operational costs, and that due to system limitations,
     enforcing correct accounting for costs was a manual process. 11 USAID’s budget planning
     system does not require program-funded operational costs to be itemized; therefore, it is
     difficult to track and cross-reference related costs. To address this issue, BRM stood up a
     new Integration Team to align budget and strategy and to better integrate the formulation
     and execution of program and operational expense funds for operational costs.

BRM has taken steps to address gaps highlighted in the after-action report, and the Acting
Deputy Administrator issued guidance on the importance of obligating funds in a timely fashion
to ensure efficient use of resources. Despite these notable actions, there are additional actions

10
   BRM gathered feedback through an internal focus group and online survey of USAID bureaus and missions. After
compiling challenge areas, BRM conducted separate sessions to discuss the challenges.
11
   Program-funded operational costs support positions that are not funded by operational expense funds, such as
foreign service limited appointments, foreign service nationals, and personal services contractors, as well as
associated administrative expenses, such as portions of ICASS bills at overseas missions and travel.


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in the after-action report that should be considered, including standard operating procedures
for central obligations and transfers, and improved Agency guidance and controls surrounding
program-funded operational costs. Additionally, USAID should determine how to address
limitations in Agency systems that led to manual tracking through spreadsheets.
CASE STUDY: AFGHANISTAN
2-Year Funds Mitigated the Impact of Delays in the Obligation Process for FY 2019 Funds

After OMB distributed appropriations to State and USAID, the two agencies allotted funds to the Office
of Afghanistan and Pakistan Affairs (OAPA), which allows funds to the Afghanistan mission. 12
USAID/Afghanistan had a liaison with OAPA supporting the process and praised the coordination
between the mission, State/F, and BRM. Budget staff noted that 2-year funds enabled USAID to obligate
all FY 2019 funds 2 months before they expired. No programs were delayed, and once funds were
obligated, an additional 4-5 year window began for the funds to be used. Given that funds had previously
been allocated from FY 2018 and in prior years, there were sufficient funds to sustain programs during
the obligation process in FY 2019.

Future Risks and Continuing Challenges
Budget execution is a fundamental process to ensure that aid is available and spent responsibly
in support of foreign policy objectives and national security priorities. USAID expressed
concern that an FY 2019 rescission would undermine the Agency’s ability to support critical
foreign policy and national security priorities, and the chairmen and ranking members of the
Senate Committee on Foreign Relations and the House Committee on Foreign Affairs told
OMB that cutting this programming would harm national security and undermine Congress’
intentions for these funds.
While many of USAID’s budget processes are outside of its control and influenced by
competing priorities, wide stakeholder interest in foreign policy objectives will continue, as
demonstrated by an abundance of directives and inquiries. USAID should ensure that BRM and
budget staff have adequate resources to plan for future challenges and to address identified
vulnerabilities.
BRM has taken steps to improve processes internally and with State to address weaknesses
identified in the review of the FY 2019 653(a) process; however, we did not assess whether the
improvements were appropriately codified or operationalized. USAID leadership must ensure
that all corrective actions identified in the after-action report are evaluated, implemented as
appropriate, and properly resourced.




12
   Bureaus and offices receiving allotments distribute the funds to lower levels by allowing the funds to specific
organizational units within the bureau or office. See ADS 634.3.3.4


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Appendix. USAID’s Foreign Assistance Appropriations Accounts in the
Fiscal Year 2018 Appropriations Act
This advisory focuses on select program funding accounts available for USAID’s use. As
indicated in the table below, several such accounts are available until expended. The scope of
this advisory is limited to accounts provided in the form of 2-year funds: Assistance for Europe,
Eurasia, and Central Asia; Democracy Fund; Development Assistance; Economic Support Fund;
and Global Health Programs-USAID.
                                                                                          Period of
Appropriations                                                                            availability for
account                  Purpose                                                          new obligations
Assistance for           For assistance to the independent states of the former           2 years
Europe, Eurasia, and     Soviet Union in areas of urgent humanitarian needs, such as
Central Asia             democracy and rule of law, and for assistance to eastern
                         European countries that have taken substantive steps toward
                         institutionalizing political democracy and economic pluralism.
Democracy Fund           For the promotion of democracy globally.                         2 years
Development              For agriculture, rural development, and nutrition                2 years
Assistance               programs; American schools and hospitals abroad; and
                         the Development Fund for Africa, among others.
Economic Support         For the promotion of economic or political stability.            2 years
Fund
Global Health            For USAID, generally used for assistance to build the            2 years for funds
Programs                 capacity of public health institutions and organizations in      apportioned to USAID; 5
                         developing countries, and family planning/reproductive           years for funds
                         health. For State, for the prevention, treatment, control,       apportioned to State
                         and research on HIV/AIDS.
Complex Crises           For supporting programs and activities to prevent                Until expended
Fund                     or respond to emerging or unforeseen foreign
                         challenges and complex crises overseas.
International            For international disaster relief, rehabilitation, and           Until expended
Disaster                 reconstruction assistance.
Assistance
Transition Initiatives   For international disaster rehabilitation and reconstruction     Until expended
                         assistance to support transition to democracy and long-
                         term development of countries in crisis.
Source: GAO.




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MEMORANDUM
DATE:              July 27, 2020
TO:                USAID Chief Financial Officer, Reginald W. Mitchell
FROM:              Assistant Inspector General for Audit, Thomas E. Yatsco /s/
SUBJECT:           USAID’s Use of Appropriated Funds Prior to Expiration and
                   Cancellation
In response to direction from the House Committee on Appropriations, the Office of Inspector
General (OIG) assessed USAID’s use of appropriated funds prior to expiration and cancellation. 1
OIG reviewed whether the Agency was using the funds that it received within the deadlines of
the appropriations and whether it was complying with the Federal requirements for obligations
using expired funds.
While planning an audit, we identified preliminary observations and are providing the results of
our work. In short, USAID used most of its funds within required deadlines. From fiscal years
2010 to 2017, USAID received $28.1 billion in appropriated funds that had statutory expiration
between fiscal years 2016 and 2018. Of this amount, approximately $5.7 million expired prior to
obligation—approximately .02 percent over the 3-year period. 2 From fiscal years 2005 to 2012,
USAID received $21.8 billion in appropriated funds that had statutory cancellation between fiscal
years 2016 and 2018. USAID used approximately $21.6 billion of the $21.8 billion appropriated
to the Agency during this period. 3 The difference of about $114.8 million between these two
amounts was canceled in fiscal years 2016 through 2018 based on required deadlines.
Considering the low percentage of funds that expired or canceled, we do not believe that
additional work on this engagement would provide significant insight into weaknesses in USAID’s
financial management policies and practices. Therefore, we are closing out the engagement with
this memorandum. USAID provided technical comments to the draft, and we made changes
where appropriate.

1
  See House Report 115-829, (H. Rpt. 115-829 at 102 (2018)) accompanying H.R. 6385, State, Foreign Operations, and
Related Programs Appropriations Bill, 2019. The explanatory statement, accompanying the Consolidated
Appropriations Act, 2019 (Pub. L. 116-6, February 15, 2019), incorporated this direction by reference to the House
Report.
2
  Our scope for expired funds consisted of USAID funds received during fiscal years 2010 through 2017. Once
expired, funds may be adjusted and disbursed to fulfill an existing obligation but cannot be used for a new obligation.
3
  Our scope for canceled funds consisted of USAID funds received during fiscal years 2005 through 2012.

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To conduct our work, we interviewed USAID officials, including officials with the Bureau for
Management, Office of the Chief Financial Officer (CFO) in Washington, DC. We reviewed
financial data from the CFO for fiscal years 2016 through 2018. We also reviewed the relevant
Federal laws, regulations, and Agency policies and procedures that determine when USAID
funds become available for use, and when USAID funds expire or cancel.

BACKGROUND
House Report 115-829, accompanying H.R. 6385, State, Foreign Operations, and Related
Programs Appropriations Bill, 2019, directed USAID OIG to determine whether USAID "used
appropriated funds within the deadlines of the appropriations [and] whether obligations using
expired funds were made in accordance with Federal requirements.” 4
USAID’s Automated Directives System (ADS) 621, “Obligations,” incorporates statutory
requirements and Federal guidelines related to the obligation and management of funds. The
majority of funds under a new appropriation have an initial period of availability of 2 years—
meaning they need to be obligated or committed in that period to pay for orders placed,
contracts awarded, or services rendered. 5 USAID’s annual appropriations acts contain a
provision that funds appropriated for the purposes identified in section 7011 remain available
for an additional 4 years from the date on which the availability of the funds would otherwise
have expired (initial period of availability), provided that the funds are initially obligated by the
end of the initial period of availability. 6 After the additional 4 years of availability, the funds
expire and remain available only for expenditures and upward adjustments for another 5-year
period. On September 30 of the 5th fiscal year after expiration, funds cancel. They are no
longer available to obligate or disburse and are returned to the U.S. Treasury. See figure 1.

Figure 1. Life Cycle of a USAID Fund




Source: Graphic created by OIG, June 2020.
Note: Upward adjustments can be made throughout the life cycle of the funds provided certain criteria are met.




4
  H. Rpt. 115-829 at 102.
5
  Operating expenses under new appropriations generally have a shorter life cycle than program funds because of
their initial period of availability of 1 year.
6
  ADS 634.3.3, “Funds Availability.”
                                                                                                                  2
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APPROXIMATELY $5.7 MILLION OUT OF $28.1 BILLION IN USAID
FUNDS EXPIRED DURING FISCAL YEARS 2016 THROUGH 2018
Out of the approximately $28.1 billion that had statutory expiration during fiscal years 2016
through 2018, $5.7 million expired prior to obligation—approximately .02 percent over the 3-
year period.
When the funds are broken out by type, $25.6 billion (91 percent) represented program funds
and $2.5 billion represented operating expense funds (9 percent). Program funds made up 62
percent ($3.55 million) and operating expense funds made up 38 percent ($2.18 million) of the
total $5.7 million in expired funds.
The three bureaus with the highest dollar value of expired funds were the Bureau for Africa,
Bureau for the Middle East, and Bureau for Asia ($1.5 million, $1.2 million, and $693,537,
respectively), while the Office of the General Counsel, the Bureau for Foreign Assistance, and
Office of Faith-based and Community Initiatives had the highest percentages of expired funds
(16.80 percent, .95 percent, and .64 percent, respectively). See tables 1 and 2 below.


Table 1. Bureaus With the Highest Dollars Expired Relative to Appropriations
Received, Fiscal Years 2016-2018
 Bureau                              Total Amount           Amount of Funds        Expired of Total
                                   Appropriated for          that Expired ($)     Appropriated (%)
                                   Funds Subject to
                                     Expiration ($)
 Bureau for Africa                     5,523,697,547                  1,496,681                  0.03
 Bureau for the Middle East            4,428,413,305                  1,167,890                  0.03
 Bureau for Asia                         1,966,735,827                  693,537                  0.04

Source: USAID OIG generated from data provided by USAID’s Bureau for Management/Office of the Chief Financial
Officer/Financial Systems Division.



Table 2. Bureaus or Independent Offices With the Highest Percentages of
Funds Expired Relative to Appropriations Received, Fiscal Years 2016-2018
 Bureau/Independent                  Total Amount           Amount of Funds        Expired of Total
 Office                            Appropriated for          that Expired ($)     Appropriated (%)
                                   Funds Subject to
                                     Expiration ($)
 Office of the General                     1,853,831                   311,446                 16.80
 Counsel
 Bureau for Foreign                         6,052,729                   57,636                  0.95
 Assistance
 Office of Faith-based and                  1,243,997                    7,985                  0.64
 Community Initiatives
Source: USAID OIG generated from data provided by USAID’s Bureau for Management/Office of the Chief Financial
Officer/Financial Systems Division.



                                                                                                            3
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Once funds expire, they are no longer available for obligation. Rather, they can only be used for
limited purposes. However, during fiscal years 2016 through 2018, USAID identified two
transactions that used expired funds: one was a new obligation using expired funds for employee
travel for $184, and a second transaction was for a credit card purchase order of $19,965. USAID
said that the second transaction could have been an upward adjustment and not a new obligation.
OIG could not make a determination of this transaction because USAID did not provide
additional supporting documentation on this matter. Both were from operating expense funds,
which are used for administrative support for the Agency. This issue was brought to the attention
of the CFO.

APPROXIMATELY $114.8 MILLION IN USAID FUNDS WERE
CANCELED FOR FISCAL YEARS 2016 THROUGH 2018
Of the $21.8 billion having a statutory cancellation during fiscal years 2016 through 2018,
approximately $114.8 million were canceled. During that period, the percentage of canceled
funds out of the appropriated funds subject to cancellation was .53 percent. This accounts for
all program funds and operational expense funds. Across the 3 fiscal years, the percentage of
canceled funds remained consistent at around half a percent per year.
For fiscal years 2016 through 2018, program funds made up about 93 percent ($20.2 billion)
and operating expense funds made up 7 percent ($1.6 billion) of the total $21.8 billion in funds
that could potentially be canceled. Of the approximate $114.8 million in funds canceled,
program funds made up 89 percent ($102.2 million) with operating expense funds comprising
the remaining 11 percent ($12.6 million).
The three bureaus/independent offices with the highest dollar value of canceled funds were
the Bureau for Africa, Bureau for the Middle East, and the Office of Afghanistan and
Pakistan Affairs ($26.8 million, $15.2 million, and $14.6 million, respectively). The Office of
Small and Disadvantaged Business Utilization, the Bureau for Foreign Assistance, and the
Bureau for Policy and Program Coordination had the highest percentage of canceled funds
(8.66 percent, 7.10 percent, and 5.04 percent, respectively). See tables 3 and 4 below.

Table 3. Bureaus or Independent Offices With the Highest Dollars Canceled
Relative to Appropriations Received, Fiscal Years 2016-2018
 Bureau/Independent                  Total Amount          Amount of Funds       Canceled of Total
 Office                            Appropriated for        that Canceled ($)     Appropriated (%)
                                   Funds Subject to
                                    Cancellation ($)
 Bureau for Africa                     3,505,773,072               26,775,017                   0.76
 Bureau for the Middle East              4,477,993,179             15,215,287                   0.34
 Office of Afghanistan and
                                         4,743,556,714             14,553,499                   0.31
 Pakistan Affairs
Source: USAID OIG generated from data provided by USAID’s Bureau for Management/Office of the Chief Financial
Officer/Financial Systems Division.




                                                                                                            4
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Table 4. Bureaus or Independent Offices With the Highest Percentage of
Funds Canceled Relative to Appropriations Received, Fiscal Years 2016-2018
 Bureau/Independent                  Total Amount          Amount of Funds       Canceled of Total
 Office                            Appropriated for        that Canceled ($)     Appropriated (%)
                                   Funds Subject to
                                    Cancellation ($)
 Office of Small and
 Disadvantaged Business                      174,231                  15,088                  8.66
 Utilization
 Bureau for Foreign
                                           2,044,525                 145,226                  7.10
 Assistance
 Bureau for Policy and
                                          19,968,859               1,006,657                  5.04
 Program Coordination
Source: USAID OIG generated from data provided by USAID’s Bureau for Management/Office of the Chief Financial
Officer/Financial Systems Division.


We hope this information provides insight into USAID’s use of appropriated funds prior to
expiration and cancellation. We will continue to carefully monitor USAID’s management of
financial resources through other audit work, including the annual audit of USAID’s financial
statements. We appreciate the assistance you and your staff extended to us during this
engagement. If you have any questions, please feel free to contact Nathan Lokos, OIG’s Deputy
Assistant Inspector General for Audit, at 202-712-1150.




                                                                                                            5
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                           EXHIBIT 89

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441 G St. N.W.
Washington, DC 20548




          Decision
          Matter of:   Office of Management and Budget—Withholding of Ukraine Security
                       Assistance

          File:        B-331564

          Date:        January 16, 2020

          DIGEST

          In the summer of 2019, the Office of Management and Budget (OMB) withheld from
          obligation funds appropriated to the Department of Defense (DOD) for security
          assistance to Ukraine. In order to withhold the funds, OMB issued a series of nine
          apportionment schedules with footnotes that made all unobligated balances
          unavailable for obligation.

          Faithful execution of the law does not permit the President to substitute his own
          policy priorities for those that Congress has enacted into law. OMB withheld funds
          for a policy reason, which is not permitted under the Impoundment Control Act (ICA).
          The withholding was not a programmatic delay. Therefore, we conclude that OMB
          violated the ICA.


          DECISION

          In the summer of 2019, OMB withheld from obligation approximately $214 million
          appropriated to DOD for security assistance to Ukraine. See Department of Defense
          Appropriations Act, 2019, Pub. L. No. 115-245, div. A, title IX, § 9013, 132 Stat.
          2981, 3044–45 (Sept. 28, 2018). OMB withheld amounts by issuing a series of nine
          apportionment schedules with footnotes that made all unobligated balances for the
          Ukraine Security Assistance Initiative (USAI) unavailable for obligation. See Letter
          from General Counsel, OMB, to General Counsel, GAO (Dec. 11, 2019) (OMB
          Response), at 1–2. Pursuant to our role under the ICA, we are issuing this decision.
          Congressional Budget and Impoundment Control Act of 1974, Pub. L. No. 93-344,
          title X, § 1015, 88 Stat. 297, 336 (July 12, 1974), codified at 2 U.S.C. § 686. As
          explained below, we conclude that OMB withheld the funds from obligation for an
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  unauthorized reason in violation of the ICA. 1 See 2 U.S.C. § 684. We also question
  actions regarding funds appropriated to the Department of State (State) for security
  assistance to Ukraine.

  OMB removed the footnote from the apportionment for the USAI funds on
  September 12, 2019. OMB Response, at 2. Prior to their expiration, Congress then
  rescinded and reappropriated the funds. Continuing Appropriations Act, 2020,
  Pub. L. No. 116-59, div. A, § 124(b), 133 Stat. 1093, 1098 (Sept. 27, 2019).

  In accordance with our regular practice, we contacted OMB, the Executive Office of
  the President, and DOD to seek factual information and their legal views on this
  matter. GAO, Procedures and Practices for Legal Decisions and Opinions,
  GAO-06-1064SP (Washington, D.C.: Sept. 2006), available at
  www.gao.gov/products/GAO-06-1064SP; Letter from General Counsel, GAO, to
  Acting Director and General Counsel, OMB (Nov. 25, 2019); Letter from General
  Counsel, GAO, to Acting Chief of Staff and Counsel to the President, Executive
  Office of the President (Nov. 25, 2019); Letter from General Counsel, GAO, to
  Secretary of Defense and General Counsel, DOD (Nov. 25, 2019).

  OMB provided a written response letter and certain apportionment schedules for
  security assistance funding for Ukraine. OMB Response (written letter); OMB
  Response, Attachment (apportionment schedule). The Executive Office of the
  President responded to our request by referring to the letter we had received from
  OMB and providing that the White House did not plan to send a separate response.
  Letter from Senior Associate Counsel to the President, Executive Office of the
  President, to General Counsel, GAO (Dec. 20, 2019). We have contacted DOD
  regarding its response several times. Letter from General Counsel, GAO, to
  Secretary of Defense and General Counsel, DOD (Dec. 10, 2019); Telephone
  Conversation with Deputy General Counsel for Legislation, DOD (Dec. 12, 2019);
  Telephone Conversation with Office of General Counsel Official, DOD (Dec. 19,
  2019). Thus far, DOD officials have not provided a response or a timeline for when
  we will receive one.




  1
   On October 30, 2019, Senator Chris Van Hollen asked the Comptroller General
  about this matter during a hearing before the Senate Committee on the Budget.
  Chief Financial Officers Act of 1990: Achieving the Vision: Hearing Before the
  Senate Committee on the Budget, 116th Cong. (2019), (statement of Sen. Van
  Hollen), available at https://www.budget.senate.gov/chief-financial-officers-act-of-
  1990-achieving-the-vision (last visited Jan. 13, 2020). We also received a letter from
  Senator Van Hollen regarding this matter. Letter from Senator Chris Van Hollen to
  Comptroller General (Dec. 23, 2019).



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  BACKGROUND

  For fiscal year 2019, Congress appropriated $250 million for the Ukraine Security
  Assistance Initiative (USAI). Pub. L. No. 115-245, § 9013, 132 Stat. at 3044–45.
  The funds were available “to provide assistance, including training; equipment; lethal
  assistance; logistics support, supplies and services; sustainment; and intelligence
  support to the military and national security forces of Ukraine.” Id. § 9013, 132 Stat.
  at 3044. The appropriation made the funds available for obligation through
  September 30, 2019. Id.

  DOD was required to notify Congress 15 days in advance of any obligation of the
  USAI funds. Id. § 9013, 132 Stat. at 3045. In order to obligate more than fifty
  percent of the amount appropriated, DOD was also required to certify to Congress
  that Ukraine had taken “substantial actions” on “defense institutional reforms.”
  John S. McCain National Defense Authorization Act for Fiscal Year 2019, Pub. L.
  No. 115-232, div., A, title XII, § 1246, 132 Stat. 1636, 2049 (Aug. 13, 2018)
  (amending National Defense Authorization Act for Fiscal Year 2016, Pub. L.
  No. 114-92, div. A, title XII, § 1250, 129 Stat. 726, 1068 (Nov. 25, 2015)). On
  May 23, 2019, DOD provided this certification to Congress. Letter from Under
  Secretary of Defense for Policy, to Chairman, Senate Committee on Foreign
  Relations (May 23, 2019) (DOD Certification) (noting that similar copies had been
  provided to the congressional defense committees and the House Committee on
  Foreign Affairs). In its certification, DOD included descriptions of its planned
  expenditures, totaling $125 million. Id.

  On July 25, 2019, OMB issued the first of nine apportionment schedules with
  footnotes withholding USAI funds from obligation. OMB Response, 1–2. This
  footnote read:

           “Amounts apportioned, but not yet obligated as of the date of this
           reapportionment, for the Ukraine Security Assistance Initiative
           (Initiative) are not available for obligation until August 5, 2019, to allow
           for an interagency process to determine the best use of such funds.
           Based on OMB’s communication with DOD on July 25, 2019, OMB
           understands from the Department that this brief pause in obligations
           will not preclude DOD’s timely execution of the final policy direction.
           DOD may continue its planning and casework for the Initiative during
           this period.”

  Id.; see id., Attachment. On both August 6 and 15, 2019, OMB approved additional
  apportionment actions to extend this “pause in obligations,” with footnotes that,
  except for the dates, were identical to the July 25, 2019 apportionment action. 2 Id.,

  2
   The initial apportionment footnote made USAI funds unavailable for obligation until
  August 5, 2019. OMB Response, Attachment. OMB did not sign the next
                                                                       (continued…)


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  at 2 n. 2. OMB approved additional apportionment actions on August 20, 27,
  and 31, 2019; and on September 5, 6, and 10, 2019. 3 Id. The footnotes from these
  additional apportionment actions were, except for the dates, otherwise identical to
  one another. Id., Attachment. They nevertheless differed from those of July 25 and
  August 6 and 15, 2019, in that they omitted the second sentence that appeared in
  the earlier apportionment actions regarding OMB’s understanding that the pause in
  obligation would not preclude timely obligation. Id. The apportionment schedule
  issued on August 20 read as follows:

           “Amounts apportioned, but not yet obligated as to the date of this
           reapportionment, for the Ukraine Security Assistance Initiative
           (Initiative) are not available for obligation until August 26, 2019, to
           allow for an interagency process to determine the best use of such
           funds. DOD may continue its planning and casework for the Initiative
           during this period.”

  Id., Attachment. The apportionment schedules issued on August 27 and 31, 2019;
  and on September 5, 6, and 10, 2019 were identical except for the dates. Id. On
  September 12, 2019, OMB issued an apportionment that removed the footnote that
  previously made the USAI funds unavailable for obligation. OMB Response, at 2;
  id., Attachment. According to OMB, approximately $214 million of the USAI
  appropriation was withheld as a result of these footnotes. OMB Response, at 2.
  OMB did not transmit a special message proposing to defer or rescind the funds.

  DISCUSSION

  At issue in this decision is whether OMB had authority to withhold the USAI funds
  from obligation.



  (...continued)

  apportionment until August 6, 2019. See id. On August 6, 2019, the amounts were
  made unavailable for obligation until August 12, 2019. Id. While the next footnote
  was issued on August 15, 2019 it stated that funds were unavailable for obligation
  “until August 12, 2019.” Id. Despite the dates listed in each apportionment footnote,
  OMB provided that the “pause in obligations was extended” on both August 6, 2019
  and August 15, 2019. See OMB Response, at 2, fn. 2 (emphasis added).
  3
    The apportionment footnote issued on August 20, 2019 made USAI funds
  unavailable for obligation until August 26, 2019. OMB Response, Attachment. OMB
  did not sign the next apportionment until August 27, 2019. See id. Despite the date
  listed in the apportionment footnote, OMB provided that the “pause in obligations
  was extended” on August 20, 2019. See OMB Response, at 2, fn. 2 (emphasis
  added).



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  The Constitution specifically vests Congress with the power of the purse, providing
  that “No Money shall be drawn from the Treasury, but in Consequence of
  Appropriations made by Law.” U.S. Const. art. I, § 9, cl. 7. The Constitution also
  vests all legislative powers in Congress and sets forth the procedures of
  bicameralism and presentment, through which the President may accept or veto a
  bill passed by both Houses of Congress, and Congress may subsequently override a
  presidential veto. Id., art. I, § 7, cl. 2, 3. The President is not vested with the power
  to ignore or amend any such duly enacted law. See Clinton v. City of New York,
  524 U.S. 417, 438 (1998) (the Constitution does not authorize the President “to
  enact, to amend, or to repeal statutes”). Instead, he must “faithfully execute” the law
  as Congress enacts it. U.S. Const., art. II, § 3.

  An appropriations act is a law like any other; therefore, unless Congress has
  enacted a law providing otherwise, the President must take care to ensure that
  appropriations are prudently obligated during their period of availability. See
  B-329092, Dec. 12, 2017 (the ICA operates on the premise that the President is
  required to obligate funds appropriated by Congress, unless otherwise authorized to
  withhold). In fact, Congress was concerned about the failure to prudently obligate
  according to its Congressional prerogatives when it enacted and later amended the
  ICA. See generally, H.R. Rep. No. 100-313, at 66–67 (1987); see also S. Rep. No.
  93-688, at 75 (1974) (explaining that the objective was to assure that “the practice of
  reserving funds does not become a vehicle for furthering Administration policies and
  priorities at the expense of those decided by Congress”).

  The Constitution grants the President no unilateral authority to withhold funds from
  obligation. See B-135564, July 26, 1973. Instead, Congress has vested the
  President with strictly circumscribed authority to impound, or withhold, budget
  authority only in limited circumstances as expressly provided in the ICA. See
  2 U.S.C. §§ 681–688. The ICA separates impoundments into two exclusive
  categories—deferrals and rescissions. The President may temporarily withhold
  funds from obligation—but not beyond the end of the fiscal year in which the
  President transmits the special message—by proposing a “deferral.” 4 2 U.S.C.
  § 684. The President may also seek the permanent cancellation of funds for fiscal
  policy or other reasons, including the termination of programs for which Congress
  has provided budget authority, by proposing a “rescission.” 5 2 U.S.C. § 683.

  In either case, the ICA requires that the President transmit a special message to
  Congress that includes the amount of budget authority proposed for deferral or
  4
   Budget authority proposed for deferral must be prudently obligated before the end
  of its period of availability. 2 U.S.C. § 684; B-329092, Dec. 12, 2017.
  5
    Budget authority proposed for rescission must be made available for obligation
  unless, within 45 calendar days of continuous congressional session, Congress has
  completed action on a rescission bill rescinding all or part of the amount proposed
  for rescission. 2 U.S.C. § 683.



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  rescission and the reason for the proposal. 2 U.S.C. §§ 683–684. These special
  messages must provide detailed and specific reasoning to justify the withholding, as
  set out in the ICA. See 2 U.S.C. §§ 683–684; B-237297.4, Feb. 20, 1990 (vague or
  general assertions are insufficient to justify the withholding of budget authority).
  The burden to justify a withholding of budget authority rests with the executive
  branch.

  There is no assertion or other indication here that OMB intended to propose a
  rescission. Not only did OMB not submit a special message with such a proposal,
  the footnotes in the apportionment schedules, by their very terms, established dates
  for the release of amounts withheld. The only other authority, then, for withholding
  amounts would have been a deferral.

  The ICA authorizes the deferral of budget authority in a limited range of
  circumstances: to provide for contingencies; to achieve savings made possible by or
  through changes in requirements or greater efficiency of operations; or as
  specifically provided by law. 2 U.S.C. § 684(b). No officer or employee of the
  United States may defer budget authority for any other purpose. Id.

  Here, OMB did not identify—in either the apportionment schedules themselves or in
  its response to us—any contingencies as recognized by the ICA, savings or
  efficiencies that would result from a withholding, or any law specifically authorizing
  the withholding. Instead, the footnote in the apportionment schedules described the
  withholding as necessary “to determine the best use of such funds.” See OMB
  Response, at 2; Attachment. In its response to us, OMB described the withholding
  as necessary to ensure that the funds were not spent “in a manner that could conflict
  with the President’s foreign policy.” OMB Response, at 9.

  The ICA does not permit deferrals for policy reasons. See B-237297.3, Mar. 6,
  1990; B-224882, Apr. 1, 1987. OMB’s justification for the withholding falls squarely
  within the scope of an impermissible policy deferral. Thus, the deferral of USAI
  funds was improper under the ICA.

  When Congress enacts appropriations, it has provided budget authority that
  agencies must obligate in a manner consistent with law. The Constitution vests
  lawmaking power with the Congress. U.S. Const., art. I, § 8, cl. 18. The President
  and officers in an Administration of course may consider their own policy objectives
  as they craft policy proposals for inclusion in the President’s budget submission.
  See B-319488, May 21, 2010, at 5 (“Planning activities are an essential element of
  the budget process.”). However, once enacted, the President must “take care that
  the laws be faithfully executed.” See U.S. Const., art. II, § 3. Enacted statutes, and
  not the President’s policy priorities, necessarily provide the animating framework for
  all actions agencies take to carry out government programs. Louisiana Public
  Service Commission v. FCC, 476 U.S. 355, 374 (1986) (“[A]n agency literally has no
  power to act . . . unless and until Congress confers power upon it.”); Michigan v.
  EPA, 268 F.3d 1075, 1081 (D.C. Cir. 2001) (a federal agency is “a creature of



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  statute” and “has no constitutional or common law existence or authority, but only
  those authorities conferred upon it by Congress”).

  Faithful execution of the law does not permit the President to substitute his own
  policy priorities for those that Congress has enacted into law. In fact, Congress was
  concerned about exactly these types of withholdings when it enacted and later
  amended the ICA. See H.R. Rep. No. 100-313, at 66–67 (1987); see also S. Rep.
  No. 93-688, at 75 (1974) (explaining that the objective was to assure that “the
  practice of reserving funds does not become a vehicle for furthering Administration
  policies and priorities at the expense of those decided by Congress”).

  OMB asserts that its actions are not subject to the ICA because they constitute a
  programmatic delay. OMB Response, at 7, 9. It argues that a “policy development
  process is a fundamental part of program implementation,” so its impoundment of
  funds for the sake of a policy process is programmatic. Id., at 7. OMB further
  argues that because reviews for compliance with statutory conditions and
  congressional mandates are considered programmatic, so too should be reviews
  undertaken to ensure compliance with presidential policy prerogatives. Id., at 9.

  OMB’s assertions have no basis in law. We recognize that, even where the
  President does not transmit a special message pursuant to the procedures
  established by the ICA, it is possible that a delay in obligation may not constitute a
  reportable impoundment. See B-329092, Dec. 12, 2017; B-222215, Mar. 28, 1986.
  However, programmatic delays occur when an agency is taking necessary steps to
  implement a program, but because of factors external to the program, funds
  temporarily go unobligated. B-329739, Dec. 19, 2018; B-291241, Oct. 8, 2002;
  B-241514.5, May 7, 1991. This presumes, of course, that the agency is making
  reasonable efforts to obligate. B-241514.5, May 7, 1991. Here, there was no
  external factor causing an unavoidable delay. Rather, OMB on its own volition
  explicitly barred DOD from obligating amounts.

  Furthermore, at the time OMB issued the first apportionment footnote withholding
  the USAI funds, DOD had already produced a plan for expending the funds. See
  DOD Certification, at 4–14. DOD had decided on the items it planned to purchase
  and had provided this information to Congress on May 23, 2019. Id. Program
  execution was therefore well underway when OMB issued the apportionment
  footnotes. As a result, we cannot accept OMB’s assertion that its actions are
  programmatic.

  The burden to justify a withholding of budget authority rests with the executive
  branch. Here, OMB has failed to meet this burden. We conclude that OMB violated
  the ICA when it withheld USAI funds for a policy reason.




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  Foreign Military Financing

  We also question actions regarding funds appropriated to State for security
  assistance to Ukraine. In a series of apportionments in August of 2019, OMB
  withheld from obligation some foreign military financing (FMF) funds for a period of
  six days. These actions may have delayed the obligation of $26.5 million in FMF
  funds. See OMB Response, at 3. An additional $141.5 million in FMF funds may
  have been withheld while a congressional notification was considered by OMB. See
  E-mail from GAO Liaison Director, State, to Staff Attorney, GAO, Subject: Response
  to GAO on Timeliness of Ukraine Military Assistance (Jan. 10, 2020) (State’s
  Additional Response). We have asked both State and OMB about the availability of
  these funds during the relevant period. Letter from General Counsel, GAO, to Acting
  Director and General Counsel, OMB (Nov. 25, 2019); Letter from General Counsel,
  GAO, to Secretary of State and Acting Legal Adviser, State (Nov. 25, 2019). State
  provided us with limited information. E-mail from Staff Attorney, GAO, to Office of
  General Counsel, State, Subject: RE: Response to GAO on Timeliness of Ukraine
  Military Assistance (Dec. 18, 2019) (GAO’s request for additional information);
  E-mail from GAO Liaison Director, State, to Assistant General Counsel for
  Appropriations Law, GAO, Subject: Response to GAO on Timeliness of Ukraine
  Military Assistance (Dec. 12, 2019) (State’s response to GAO’s November 25, 2019
  letter); State’s Additional Response. OMB’s response to us contained very little
  information regarding the FMF funds. See generally OMB Response, at 2–3.

  As a result, we will renew our request for specific information from State and OMB
  regarding the potential impoundment of FMF funds in order to determine whether the
  Administration’s actions amount to a withholding subject to the ICA, and if so,
  whether that withholding was proper. We will continue to pursue this matter.

  CONCLUSION

  OMB violated the ICA when it withheld DOD’s USAI funds from obligation for policy
  reasons. This impoundment of budget authority was not a programmatic delay.




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  OMB and State have failed, as of yet, to provide the information we need to fulfill our
  duties under the ICA regarding potential impoundments of FMF funds. We will
  continue to pursue this matter and will provide our decision to the Congress after we
  have received the necessary information.

  We consider a reluctance to provide a fulsome response to have constitutional
  significance. GAO’s role under the ICA—to provide information and legal analysis to
  Congress as it performs oversight of executive activity—is essential to ensuring
  respect for and allegiance to Congress’ constitutional power of the purse. All federal
  officials and employees take an oath to uphold and protect the Constitution and its
  core tenets, including the congressional power of the purse. We trust that State and
  OMB will provide the information needed.




  Thomas H. Armstrong
  General Counsel




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